
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0077-05






THE STATE OF TEXAS, Appellant



v.



RICHARD RAYMOND DIXON, II





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SIXTH COURT OF APPEALS


LAMAR COUNTY





		Meyers, J., delivered the opinion of the Court, in which Price, Johnson,
Hervey, and Cochran, JJ., joined.  Holcomb, J., concurred.  Womack, J., filed a
dissenting opinion, in which Keller, P.J., and Keasler, J., joined.


	Appellee, Richard Raymond Dixon, was stopped for an alleged traffic violation. 
After an extensive search, officers found methamphetamine on the passenger who was in
the car with Appellee.  Appellee was arrested and charged with possession of
methamphetamine.  He filed a motion to suppress the evidence, which was granted by the
trial court.  The State appealed and the court of appeals affirmed the judgment of the trial
court.  State v. Dixon, 151 S.W.3d 271 (Tex. App.-Texarkana 2004).  The State
Prosecuting Attorney filed a petition for discretionary review asking us to consider
whether a traffic stop must be effectuated within a reasonable time and distance after the
alleged traffic violation.  We will affirm the judgment of the court of appeals. 

FACTS


	A confidential informant told officers about a residence which contained drugs.
While officers were conducting a search of that residence, the owner, who was
subsequently arrested, told them that Appellee had two eight balls of methamphetamine. 
As a result of this information, officers were called to initiate surveillance of Appellee's
place of business.  The officers observed Appellee and a female companion drive away
from the business, so the officers followed.  The officers observed Appellee make a right-
hand turn from a designated right-turn-only lane without signaling the turn.  They
continued following Appellee for over a mile and observed him make a left-hand turn
from a designated left-turn-only lane without signaling the turn.  After following
Appellee for 3.2 miles after they first observed him make an unsignaled turn, the officers
pulled him over.  They informed him that they had pulled him over for a traffic violation
and asked to search his car.  Appellee gave them consent, and they searched the car and
found nothing.  They then searched Appellee and the passenger and found nothing.  Next,
they waited for the drug dog.  The drug dog arrived and sniffed Appellee and the
passenger and found nothing.  The officers then called for a female officer to conduct a
more extensive search of the passenger.  The female officer searched the passenger's
underwear and found three baggies of methamphetamine.  Appellee was charged with
possession of the methamphetamine found in the passenger's underwear.  The passenger
was also arrested and pleaded guilty to the possession.  Appellee filed a motion to
suppress all evidence seized as a result of the traffic stop.  The trial court held a hearing in
which both parties discussed the evidence, but the court did not hear testimony from the
officers.  The trial court granted the motion to suppress the evidence.  After a request by
the State for findings of fact and conclusions of law, the trial court entered the following:

Findings of Fact and Conclusions of Law

	1.  On November 18, 2002, officers with the Paris Police Department and
RCSAP Drug-Task Force executed a search warrant at 34355 24th SE in
Paris, Lamar County, Texas.

	2.  The primary resident of the premises searched advised officers that
defendant was in possession of two eight balls of Methamphetamine.

	3.  Officers set up surveillance on the business premises of defendant.

	4.  The arresting officer observed defendant and a female companion leave
defendant's business premises in defendant's vehicle.

	5.  At the intersection of North Main Street and Pine Bluff Street in Paris,
Lamar County, Texas the defendant's vehicle turned right from a designated
right turn lane at the intersection.

	6.  At the intersection of Pine Bluff Street and 20th N.E. Street in Paris,
Lamar County, Texas defendant's vehicle turned left from a designated left
turn lane at the intersection. 	

	7.  The right hand turn and the left hand turn were lawful turns from
designated turn lanes that allowed those lanes to be used for turns only.

	8.  The arresting officer stopped defendant's vehicle for the alleged traffic
violation 3.2 miles from the point of the alleged violation at the intersection
of North Main and Pine Bluff Street.

	9.  No outside force or entity interfered with the arresting officer's ability to
stop defendant's vehicle between the point of the alleged violation and the
actual stop of defendant's vehicle for the alleged violation.

	10.  The defendant was detained for an alleged traffic violation occurring at
North Main Street and Pine Bluff Street and upon information obtained
from the occupant of the premises upon which the search warrant was run.

	11.  The arresting officer did not make the traffic stop within a reasonable
time after the alleged violation.

	12.  The arresting officer did not make the traffic stop within a reasonable
distance after the alleged violation.

	13.  The arresting officer detained defendant until the arrival of a drug dog
that was en route to the vehicle location.

	14.  The information obtained from the resident of the premises searched
was not from a reliable source.

	15.  No drug was found to be in the possession of the defendant after being
searched.

	16.  No drug was found within the defendant's vehicle after being searched.

	17.  Three baggies of Methamphetamine were found in the underwear being
worn by the female companion who was in the defendant's vehicle. 


	The State appealed the trial court's ruling, arguing that the court erred in failing to
hear testimony from the officers at the suppression hearing and thus, because no evidence
was presented, the court should not have entered findings of fact.  The State also argued
in its brief to the court of appeals that the trial court suppressed the evidence in this case
because it was a pretext stop, and this was an error since pretext stops are legal under
Crittenden v. State, 899 S.W.2d 668, 674 (Tex. Crim. App. 1995).  

	Instead of considering the pretext-stop issue, the decision of the court of appeals 
focuses on the time and distance between the unsignaled turn and the stop.  The court of
appeals held that the trial court suppressed the evidence because it concluded that the 3.2-mile delay between the alleged traffic violation and the stop was not within a reasonable
time or distance.  Dixon, 151 S.W.3d at 274.  Although no witnesses testified at the
hearing, the record shows that the parties agreed about the facts and the sequence of
events that occurred surrounding the traffic stop and search.  Because the record supports
the trial court's decision to suppress the evidence, the court of appeals affirmed the
judgment.  Id. at 275. We granted the State Prosecuting Attorney's ground for review
which asked, "In order to render a lawful motor vehicle stop for a traffic offense, must the
stop be effectuated within a reasonable time and reasonable distance after the alleged
violation?"

STANDARD OF REVIEW

	The job of an appellate court in cases such as the one before us is to review the
decision of the lower court for an abuse of discretion.  We view the record in the light
most favorable to the trial court's conclusion and reverse the judgment only if it is outside
the zone of reasonable disagreement.  We will sustain the lower court's ruling if it is
reasonably supported by the record and is correct on any theory of law applicable to the
case.  Romero v. State, 800 S.W.2d 539, 543 (Tex. Crim. App. 1990).  We give almost
total deference to a trial court's express or implied determination of historical facts and
review de novo the court's application of the law of search and seizure to those facts. 
State v. Ross, 32 S.W.3d 853, 856 (Tex. Crim. App. 2000) (citing Carmouche v. State, 10
S.W.3d 323 (Tex. Crim. App. 2000), and Guzman v. State, 955 S.W.2d 85 (Tex. Crim.
App. 1997)).

ANALYSIS

	First, we disagree with the State Prosecuting Attorney that the issue in this case is
whether it is reasonable for police to follow a driver for over three miles after an alleged
traffic violation before pulling him over.  This ground for review seems to miss the
essence of the trial court ruling.  The trial court's findings of fact indicate that the stop
and search were generally unreasonable for reasons other than the unnecessary delay
between the turns and the stop, including: the turns were lawful; the length of the
detention and extent of the search were excessive; and the information on which the
police based the surveillance was not from a reliable source.

	While the court of appeals considered the limitations on an officer's ability to
delay a stop, a review of the record from the hearing indicates that the delay between the
turns and the stop was not discussed at length, rather it was  mentioned only by the
defense attorney at the beginning of the hearing when the court asked for an overview of
the evidence to be presented.  The only other mention of the distance between the turns
and the stop was the following discourse, which occurred at the beginning of the
rescheduled hearing.

	THE COURT:	This is the case where there was a right hand turn from
a right hand dedicated turn lane and a left hand turn
from a left hand dedicated turn lane.  I believe that the
officers said they followed the car for two and a half
miles.


	DEFENSE:		3.2


	THE COURT:	From the original stop.  Then they claimed they
stopped the car because they failed to give a right hand
signal from the dedicated right hand turn lane at North
Main and Pine Ridge Road.


	STATE:		North Main and Pine Bluff or Pine Bluff and 20th.


	DEFENSE:		Both turns were from dedicated lanes.  The officers
claimed that they were making a traffic arrest.  Of
course they didn't make it for another mile down the
road instead of at the time the alleged violation
occurred.

	Thus, the issue in this case is not the amount of time or the distance between the
turns and the traffic stop.  It is clear from the hearing that the trial judge simply did not
believe that the driver in this case committed a traffic offense by making a turn from a
designated turn lane without using a signal.  The trial judge stated:

	Even though they may be testifying they stopped him for a traffic offense,
the court's not bound by that.  I don't care what they say they stopped him
for.  If I find there was an legal [sic] basis for it, I think that's what I have
to make my ruling on.  It seems to me that the traffic stop, if the facts you
recite are correct and he made two turns from dedicated turn lanes on the
light, I would not think that there was any valid traffic stop.

The trial court's findings of fact and conclusions of law state that the turns made by
Appellee were lawful, and thus no traffic violation occurred. 

	It is also clear that the trial court did not believe the officers' allegations that they
pulled Appellee over because he committed a traffic offense.  The fact that they waited
for over three miles after the alleged violation to stop Appellee diminishes the credibility
of their claim that they stopped him for an unlawful turn.  By entering the findings of fact
and conclusions of law relating to the time and distance the police followed the driver, the
trial judge was in effect saying, "If you really thought the driver had committed a traffic
offense, then why did you wait so long before pulling him over?" 

	While the court of appeals may have unnecessarily focused on the distance and
time the police followed the driver before pulling Appellee over, the court properly
determined that it was within the discretion of the trial judge to decide whether to believe
the officers' claim that they pulled Appellee over for a traffic offense.  The trial judge
made it clear that he believed the turns made by Appellee were lawful, so no traffic
violation was committed and the stop was not valid.  Because the trial court did not
believe that an offense had occurred, the evidence was obtained as a result of an unlawful
stop.  The record supports the trial court's conclusion that the search was not conducted
pursuant to a valid traffic stop, and the evidence was properly suppressed.

CONCLUSION

	The trial court did not abuse its discretion in suppressing the evidence and the
court of appeals properly held that the record supports the trial court's decision.  The
decision of the court of appeals is affirmed.

								Meyers, J.


Delivered: February 15, 2006

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